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Exhibit C

(Defendant’s Initial Disclosures, Relevant Excerpts)

 
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3.

Provide, for Concurrent Degree Students, appropriate instructional space for the
Masters level courses taken at Saint Joseph’s College. Students of St. Matthew’s
who are enrolled in the Masters programs shall be permitted to use Saint Joseph’s
library and recreational facilities with the payment of an appropriate fee.

Provide academic advisors to all Concurrent Degree Students solely with respect
to the Masters programs,

Cover ail travel costs for Saint Joseph’s faculty providing Masters level courses at
St, Matihew’s in the Cayman Island.

Cover the costs of photocopying for educational needs for Saint Joseph’s faculty
in the Cayman Islands.

Provide administrative oversight of the Masters programs, with Saint Joseph’s
having exclusive control of the academic content of the Masters curricula and
degree requirements and having the sole right to set tuition in the Masters

programs.

Responsibilities of St. Matthew's University,

St. Matthew’s agrees to:

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Provide classroom space adequate for Saint Joseph’s to provide its Masters level
courses at the Cayman Islands site and support necessary for the Saint Joseph’s
instructors and administrative assistant to perform their functions at the Cayman
Islands site, including use of appropriate offices, e-mail, fax services, high-speed
Internet access, and bulletin boards. Saint Joseph’s, at its discretion, concurrently
may assign up to six instructors and one administrative assistant to work in the

Cayman Islands.

Obtain and pay for all work permits necessary for the Saint Joseph’s instructors
and to perform their duties in the Cayman Islands. Obtain all work permits
necessary for a Saint Joseph’s administrative assistant, the cost of which would be

born solely by Saint Joseph’s College.

Pay fo Saint Joseph’s the sum of $54,000 at a rate of $18,000 per semester
payable May, 2006, August, 2006 and January, 2007 to offset a portion of the cost
of housing for the Saint Joseph’s faculty in the Cayman Islands.

Provide library space and librarian service for books and study materials used in
the Masters programs.

St. Matthew’s MD degree program will offer fourth and fifth semesters of their
medical school curriculum in Maine throughout the phase-out period. St.
Matthew's MD students are required to enrol! simultaneously in one of Saint
Joseph’s Masters programs.

SMU 00230
